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                                 FILED UNDER SEAL


                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division


JUUL LABS, INC.,

                   Plaintiff,


v.                                                Civil Action No. 1:19-cv-00715


THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                   Defendants.




                                     Schedule A

 No.               Seller ID/Defendant Store Name                 Defendant Store Location
  1                             yaserjajan                                 eBay
  2                             ghilly001                                  eBay
  3                               pant-20                                  eBay
  4                   qiaotianping-zhengmeixinxi                           eBay
  5                            miss_zhang                                  eBay
  6                            reenpate-10                                 eBay
  7                             vapingpit                                  eBay
  8                          savings4u168                                  eBay
  9                             iguel2_86                                  eBay
 10                           lulucaty5171                                 eBay
 11                              dre_sull                                  eBay
 12                           a.cressotti69                                eBay
 13                           awakeandsell                                 eBay
 14                            plehnevi17                                  eBay
 15                          kytech2016_0                                  eBay
 16                          szeminhhangy                                  eBay
 17                              sodal-87                                  eBay
 18                           yervansetoya                                 eBay
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19                        grwilson_44                            eBay
20                      yervansetoya-0                           eBay
21                         cress.anton                           eBay
22                           tyijiafkju                          eBay
23                      zbest4less2012                           eBay
24                      red-cherry2018                           eBay
25                         jdonymous                             eBay
26                         myrodoyl0                             eBay
27                             betr-2                            eBay
28                      metroimporting                           eBay
29                        keepvap1ng                             eBay
30                         ageless911                            eBay
31                      quimstores_914                           eBay
32                          highdesity                           eBay
33                        talfangkoyu                            eBay
34                       ivanbgatlanta                           eBay
35                     downeastmed41                             eBay
36                        nikobg1973                             eBay
37                           hotrendz                            eBay
38                          2015.filta                           eBay
39                          jafra1571                            eBay
40                        noamartan_0                            eBay
41                       trisyeegdor_0                           eBay
42                            golit_34                           eBay
43                        harna_1763                             eBay
44                         ruleimports                           eBay
45                          wii_store                            eBay
46                           sagrif-66                           eBay
47                          walou-19                             eBay
48                           stealt_80                           eBay
49                          slade_222                            eBay
50                       alejandrpiedr1                          eBay
51                         joose-6877                            eBay
52                           slhan_40                            eBay
53                       wanyancai559                            eBay
54                       wenwen996_4                             eBay
55                     lostandfoundnyc                           eBay



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56                         cellsellco                            eBay
57                          jesla-370                            eBay
58                        colorsbyher                            eBay
59                      nidahamaye-0                             eBay
60                        emadors15                              eBay
61                          limeri-26                            eBay
62                         oofzcuky2                             eBay
63                         hfbnvt_76                             eBay
64                       snapoom_01                              eBay
65                       aggence9802                             eBay
66                           capr-99                             eBay
67                        nodomi-64                              eBay
68                       yanshifu482                             eBay
69                         rickyh-00                             eBay
70                            vasmi                              eBay
71                         bigd9006                              eBay
72                      bigapplewares                            eBay
73                      kyljackso_58                             eBay
74                    richpattersonkyle                          eBay
75                       sambrosia08                             eBay




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Date: June 4, 2019                Respectfully submitted,

                                  /s/ Monica Riva Talley
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                                  Byron Pickard (VSB No. 47286)
                                  Dennies Varughese, Pharm.D. (pro hac pending)
                                  Nirav N. Desai (VSB. No. 72887)
                                  Nicholas J. Nowak (pro hac pending)
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